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                    UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MISSOURI
                         SOUTHEASTERN DIVISION
                                 §    Chapter 11
 In re:                          §
                                 §    Case No. 20-43597-399
 BRIGGS & STRATTON               §
 CORPORATION, et al.,            §    (Jointly Administered)
                                 §
           Debtors.              §    Related Docket No. 2087

                    ORDER AUTHORIZING THE ESTABLISHMENT
        OF A QUALIFIED SETTLEMENT FUND FOR CERTAIN EMPLOYEE CLAIMS

                     Upon the motion (the “Motion”)1 of the Plan Administrator in the above-captioned

 chapter 11 cases for entry of an order pursuant to section 105(a) of the Bankruptcy Code and

 Treasury Regulation section 1.468B-1(c) establishing a QSF for the Claimants; and this Court

 having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.

 §§ 157 and 1334; and consideration of the Motion and the requested relief being a core proceeding

 pursuant to 28 U.S.C. § 157(b); and it appearing that venue is proper before this Court pursuant to

 28 U.S.C. §§ 1408 and 1409; and the Plan Administrator having represented that adequate and

 proper notice of the Motion has been given; and that no other or further notice need be given; and

 this Court having reviewed the Motion; and this Court having held a hearing to consider the relief

 requested in the Motion; and this Court having determined that the legal and factual bases set forth

 in the Motion establish just cause for the relief granted herein; and it appearing that the relief

 requested in the Motion is in the best interests of the Plan Administrator and creditors; and upon

 all of the proceedings had before this Court and after due deliberation and sufficient cause

 appearing therefor, it is hereby ORDERED that the Motion is GRANTED in that:



 1
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.
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                1.      Pursuant to section 105(a) of the Bankruptcy Code and Treasury Regulation

 section 1.468B-1(c), the Plan Administrator is authorized to establish a Qualified Settlement Fund.

                2.      The terms and conditions of this Order are effective immediately upon

 entry.

                3.      Nothing contained in the Motion or this Order is intended to be or shall be

 deemed as (i) an admission as to the validity of any claim against the Debtors or the Wind-Down

 Estates, (ii) a waiver of rights to dispute the amount of, basis for, or validity of any claim, (iii) a

 waiver of rights under the Bankruptcy Code or any other applicable nonbankruptcy law, (iv) an

 agreement or obligation to pay any claims, (v) a waiver of any claims, defenses or causes of action

 which may exist against any creditor or interest holder, or (vi) an approval, assumption, adoption,

 or rejection of any agreement, contract, lease, program, or policy under section 365 of the

 Bankruptcy Code.

                4.      The Plan Administrator is authorized to take all actions necessary or

 appropriate to carry out the relief granted in this Order.

                5.      Not later than two (2) business days after the date of this Order, the Plan

 Administrator shall serve a copy of the Order and shall file a certificate of service no later than

 twenty-four (24) hours after service.



 DATED: March 10, 2022
 St. Louis, Missouri                                          Barry S. Schermer
 cke                                                          United States Bankruptcy Judge




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